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IN THE UNITED STATES DISTRICT COURT
FOR MARYLAND

iN THE MATTER oF THE sEARCH oF
APPLE IPHONE ss AND APPLE IPHoNE 7
PLUS, CURRENer LocArED AT 31
HoPKiNs PLAZA, 6TH FLoo.R,
BALTIMORE, MD

17'334 lJ|V|C

Case No.

 

 

AFFIDAVIT lN S`UPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE

I, J ames Jenkins, being first duly swom, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. l make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal l’roeedure for a search warrant authorizing the examination of property*~
electronic devices_which are currently in law enforcement possession and which are further
described in Attachment A, and the extraction from that property of electronically stored

information described in Attachment B.

2. l am a Special Agent with the U.S. Department of State, Diplomatic Security
Service'(DSS), and have been employed by the Department of State since September 2011. l am
presently assigned to the Document and Benefit Fraud Task Force in Baltimore, MD. This squad
investigates, among other things, document fraud, benefit fraud, passport fraud, and visa fraud. l
am empowered under 22 U.S.C. § 2709 to appiy for and serve federal arrest and search warrants

3. The facts set forth in this affidavit are known to me as a result of my participation
in this investigation, from information provided to me by other law enforcement officers and

government ofticials, and from documents, records, and other evidence obtained during this

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investigation Since this affidavit is intended to show merely that there is sufficient probable
cause for the requested Warrant and it does not set forth all of my knowledge about this matter.

IDENTIFICATION OF THE DEVICES TO BE EXAMINED

4._ The property to be searched is (l) an Apple iPhone 6S, International Mobile
Equipment ldentity 353255071996410 (hereinafter “Device l”)iand (2) an Apple iPhone 7 Plus,
lnternational Mobile Equipment ldentity 35657] 082]30709 (hereinafter “Device 2”)
(collectively the “Devices”). The Devices are currently at Homeland Security lnvestigations
(HSl) Baltimore located at 31 Hopkins Plaza, 6th Floor, Baltimore, MD and are also described in

Attachrnent A.

5. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe that violations of 18 U.S,C. § 371 (conspiracy) and 8 U.S.C. §
1325(c) (l\/Iarriage Fraud) (collectively referred to as the “Target Offenses”) have been
committed by Bal KC and others. There is alsoprobable cause to conduct a forensic
examination of the Devices for the purpose of identifying electronically stored data particularly

described in Attachment B_

PROBABLE CAUSE

6. In or around 2014, investigators learned that there were indications that Mohan
THAPA, a Nepalese citizen living in the Baltimore area, was arranging fraudulent marriages.
Specitically, evidence suggested that THAPA was arranging marriages between Nepalese
citizens and U.S. citizens for the purpose of obtaining U.S. immigration status for the Nepalese

citizen.

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7. In or around Noveinber 2015, the Department of Homeland Security (DHS)
conducted an l-9 inspection at Masala Kitchen located at 3105 St Paul St., Baltimore, MD.
Masala Kitchen is a restaurant associated with THAPA. The form 1'~9 is titled Employment
Eligibility Verification and documents an employee’s authorization to work in the U.S.
Ernployers are required to keep the l-9s on file for a period of time and make the available for
inspection An 1-9 inspection involves DHS reviewing those forms. Among the employees
listed on the 1-93 was Bal KC. Review of KC’s immigration history showed that he obtained
immigration status through marriage to a U.S. citizen in Baltimore, MD. Investigators began
looking into the marriage and determined the following:

8. On or about October 20, 2014, Jasmine BENNETT, a U.S. citizen, married Bal
KC, a Nepalese citizen, in Towson, MD.

9. On or about Augnst 3, 2015, BENNETT filed a petition with U.S. Citizenship and
Immigration Services to obtain immigration status for KC based on their marriage

10. On or about December 22, 2015, KC was granted conditional residency based on
his marriage to BENNETT.

1 1. On or about March 20, 2017, l participated in a proffer session with Cooperator 1,
a witness known to law enforcement and knowiedgeable about the marriage between KC and
BENNETT. Among other things, Cooperator 1 said that BENNETT was approached by KC and
THAPA at Mondawmin l\/lall in 2013. THAPA tried to convince BENNETT to marry KC during
this -encounter. Tl-IAPA told BENNETT that KC needed help which BENNETT understood
meant with immigration THAPA told BENNETT that she would not have to worry about

anything financially

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12, According to Cooperator 1, BENNETT subsequently met with THAPA alone and
be told her that KC would help her financially BENNETT did not decide to marry KC at that
meeting According to Cooperator 1, THAPA and KC called BENNETT every day until she
agreed to go through with the marriage

13, According to Cooperator 1, after BENNETT agreed to marry KC, KC and
THAPA continued to call B_ENNETT during the period between agreeing and the marriage to
make sure she did not change her mind.

14. A Department of State lnvestigative analyst tabulated toll records for 917-513-
5026, the phone number KC listed on his 1-485, Application to Register Permanent Residence or
Adjust Status. Each toll is a record of a call or text either incoming or outgoing on a particular
phone number. The analyst determined that between October l3, 2014 and February 10, 2016
there were 316 tolls between KC and 443~522-1378, a number attributed to BENNETT through
phone company subscriber records. The analyst further found that between April 22, 2014 and
February 8, 2016 there were 815 tolls between KC and 443-572-9972 and 443-571»7392, two
numbers linked to THAPA through phone company subscriber records.

15. On or about September 18, 2017, l interviewed Cooperator l again. Cooperator 1
said that KC had been calling BENNETT recently and BENNETT agreed to meet with KC due
to his _persistence. BENNETT and KC met in a Target parking lot. KC showed BENNETT a
letter she believed was from immigration stating that he had 90 days to respond According to
Cooperator 1, KC wanted to add BENNETT to his life insurance policy and his lease.
BENNETT declined KC also asked to take pictures together 1 believe these requests from KC

were for the purpose of making their marriage appear to be a bona fide marriage

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16. Cooperator l said that KC communicates with BENNETT via text message and
phone calls. Cooperator 1 forwarded me a screenshot of a text message exchange between KC
and BENNETT. The screenshot showed that it was from the phone number 917-513-5026 and is
listed as “K C.” The screenshot of the message exchange reads:

KC: Your occupation specify ))). baby (((. l’m cook now

KC: N you

KC: Baby ???

KC: Your occupation baby ??

KC: Text me

KC: Hi

BEN`NETT: CNA

BENNETT: Certified nursing assistant

BENNETT: Yes Work address is fine

KC: Thanku

17. l believe the text message exchange is evidence of a lack ofbasic knowledge
between KC and BENNETT that one would typically expect in a marital relationship

18. On or about November 9, 2017, investigators searched BENNETT’s phone and
copied call logs and text messages from her phone

19. l reviewed the information from BENNETT’s phone and was able to locate
approximately 50 text messages between KC and BENNETT covering the time period June 7,
2017 to November 8, 2017. Of note, approximately 8 were from BENNETT to KC and the

remaining approximately 42 were from KC to BENNETT.

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20. On or about November 13, 2017, l learned from Cooperator l’s attorney that KC
had been calling BENNETT every day and BENNETT had to change her phone number.

21. On or about November 16, 2017, l arrested KC. During the arrest of KC,
investigators seized the Devices which KC identified as belonging to him. While examining the
Devices in order to locate phone-specific numbers to document the Devices l observed the lock
screens on both Devices. This review did not involve entering a password or unlocking the
Devices. l saw that the two Devices had different photos as the background of the lock screen.
Both photos appeared to be KC and BENNETT together

22. Finally, following THAPA’s arrest in June 201 7, no contact with KC was one of
the conditions of his release. A Department of State investigative analyst reviewed toll records
for several phone numbers associated with THAPA. The analyst found 13 tolls from the THAPA
associated numbers to 917-513-5026 (the number linked to KC in BENNETT’s phone and listed

on KC’s 1~485) during the period July 26, 2017 to September 22, 2017.
Conclusion

23. Based on the information gathered during the investigation and presented in this
aftidavit, l believe that KC used the Devices to communicate with individuals associated with
this investigation and to make arrangements in furtherance of his criminal activities I further
believe that the Devices holds evidence relevant to the investigation including logs of calls
between investigation targets, photos, and text messages Therefore I request that a search

warrant be issued for the Devices.

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STATUS OF THE DEVICES

24. The Devices are currently in the lawful possession of Homeland Security
lnvestigations (HSI) located at 31 Hopkins Plaza, 6th Floor, Baltimore, MD. They came into
HSl’s possession in the following way: when investigators executed an arrest warrant for KC
multiple cellular phones were in plain view during the protective sweep following arrest and
when agents accompanied KC to a bedroom to obtain clothing for him. lnvestigators asked KC
about two of the phones which he identified as belonging to him. Device l was located on a
dining table in the room in which KC was arrested Device 2 was located on one of two beds in a

bedroom where KC led agents to obtain additional clothing for him.
TECHNICAL TERMS

25. Based on my training and experience, l use the following technical terms to

convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and
from the phone. ln addition to enabling voice communications, wireless
telephones offer a broad range of capabilities These capabilities incl'ude: storing

names and phone numbers in electronic “address books',” sending, receiving, and

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storing text messages and e-mail; taking, sending, receiving, and storing still
photographs and moving video; storing and playing back audio files; storing
dates, appointments, and other information on personal calendars; and accessing
and downloading information from the Internet. Wireless telephones may also
include global positioning system (“GPS”) technology for determining the

location of the device.

b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images.
Images can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader. Removable
storage media include various types of flash memory cards or miniature hard
drives. l\/lost digital cameras also include a screen for viewing the stored images.
This storage media can contain any digital data, including data unrelated to

photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files. However, a portable media player can also store other
digital data. Some portable media players can use removable storage media
Removable storage media include various types of flash memory cards or
miniature hard drives. This removable storage media can also store any digital

data. Depending on the model, a portable media player may have the ability to

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store very large amounts of electronic data and may offer additional features such

as a calendar, contact list, clock, or games

d. GPS: A GPS navigation device uses the Global Positioning System to display its
current location. lt often contains records the locations where it has been. Some
GPS navigation devices can give a user driving or walking directions to another
location. These devices can contain records of the addresses or locations involved
in such navigation The Global Positioning System (generally abbreviated
“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite
contains an extremely accurate clock. Each satellite repeatedly transmits by radio
a mathematical representation of the current time, combined with a special
sequence of numbers These signals are sent by radio, using specifications that
are publicly available. A GPS antenna on Earth can receive those signals. Wl'ien
a GPS antenna receives signals from at least four satellites, a computer connected
to that antenna can mathematically calculate the antenna’s latitude, longitude, and

sometimes altitude with a high level of precision

e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used
for storing data (such as names, addresses, appointments or notes) and utilizing
computer programs Some PDAs also function as wireless communication
devices and are used to access the lnternet and send and receive e~mail. PDAs
usually include a memory card or other removable storage media for storing data
and a keyboard and/or touch screen for entering data. Removable storage media

include various types of flash memory cards or miniature hard drives. This

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removable storage media can store any digital data. Most PDAS run computer
software, giving them many of the same capabilities as personal computers For
example, PDA users can work with word-processing documents, spreadsheets,
and presentations PDAs may also include global positioning system (“GPS”)

technology for determining the location of the device.

26. Based on my training, experience, and research, and from consulting the
manufacturer’s advertisements and product technical specifications available online at
https://www.apple.com/iphone-?/specs/ and https://www.apple.com/iphone-os/specs, I know that
the Devices have capabilities that allow them to serve as a wireless telephone, digital camera,

portable media player, GPS navigation device, and PDA.
ELECTRONIC STORAGE AND FORENSIC ANALYSIS

27. Based on my knowledge, training, and experience, l know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
lnternet are typically stored for some period of time on the device. T.his information can

sometimes be recovered with forensics tools.

28. Forensic evidence As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct
evidence of the crimes described on the warrant, but also forensic evidence that establishes how
the Devices were used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Devices because:

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a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion ofa

tile (such as a paragraph that has been deleted from a word processing file).

b. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who

used them, and when.

c. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves Therefore, contextual
information necessary to understand other evidence also falls within the scope of

the warrant.

d. Further, in finding evidence of how a device was used, the purpose of its use; who
used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a storage medium.

29. Ncirure ofexaminalion. Based on the foregoing, and consistent with Rule
41 (e)(2)(B), the warrant l am applying for would permit the examination of the device consistent

with the warrant The examination may require authorities to employ techniques including but

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not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant

30. Manner ofexeculirm. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises Consequently, l submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.
CONCLUSION

31. I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Devices described in Attachment A to seek the items

described in Attachment B.

Respectfully submitted,

    

Special
U.S. Department of State
Diplomatic Security Service

   
 
 

Subscribed and , ' to before me
on Dece ber / ,/2017

 

 
 

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ATTACHMENT A

The property to be searched is (1) an Apple iPhone 6S, lnternational Mobile Equipment
ldentity 353255071996410 (hereinafter “Device l”) and (2) an Apple iPhone 7 Plus,
v international Mobile Equipment ldentity 356571082130709 (hereinafter “Device 2”)
(collectively the “Devices”). The Devices are currently at Homeland Security Investigations
(HSI) Baltimore located at 31 I-lopkins Plaza, 6th Floor, Baltimore, MD and are also described in
Attachment A.

This warrant authorizes the forensic examination'of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.

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1.

ATTACHMENTB 17 - 3 3 4 1 tlltll@

Any and all records on the Devices described in Attachment A or their SIl.\/I cards

that relate to violations of 18 U.S.C. § 371 and 8 U.S.C. § l325(c), including but not limited to:

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2.

All telephone numbers and direct connect numbers of identities assigned to the

device, including usernames and passwords and electronic mail addresses

Call and direct connect history information including lnternet Protocol addresses

accessed by the device or accessing the device;
Stored photographs videos and text messages

Stored electronic mail, including attachments and voice messages and other

recordings

Stored calendar records;

Web-browsing history and any stored web pages;
Stored documents and other files;

Stored geo-location information;

Data stored in any application;

Any and all contacts and associated telephone numbers

Evidence of user attribution showing who used or owned the Device at the time

the things described in this warrant were created, edited, or deleted, such as logs phonebooks,

saved usernames and passwords documents and browsing history.

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3. Law Enforcement Search Protocol 17 a 3 3 4 l willie

A. The law enforcement search shall be conducted pursuant to the following protocol in
order to minimize to the greatest extent possible the likelihood that files or other
information for which there is not probable cause to search are viewed.

B. With respect to the search of any di gitally/electronically stored information provided to
law enforcement by forensic analysis the search procedure by law enforcement may
include the following techniques (the following is a non-exclusive list, and the
government may use other procedures that, like those listed below, minimize the review
of information not within the list of items to be seized as set forth herein, while
permitting government examination of all the data necessary to determine whether that
data falls within the items to be seized):

a. surveying various file directories and the individual files they contain to
determine whether they include data falling within the list of items to be seized;

b. opening or reading portions of files in order to determine whether their contents
fall within the items to be seized;

c. scanning storage areas to discover data falling within the list of items to be seized,
to possibly recover any such deleted data, and to search for and recover files
falling within the list of items to be seized; and/or

d. performing key word searches through all electronic storage areas to determine
whether occurrence of language contained in such storage areas exist that are

likely to appear in the evidence to be seized.

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C. If after performing these procedures the directories files or storage“areas do not reveal
evidence of the above listed crimes or other criminal activity, the further search of that

particular directory, file or storage area, shall cease.

 

